Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 1 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 2 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 3 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 4 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 5 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 6 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 7 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 8 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 9 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 10 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 11 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 12 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 13 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 14 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 15 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 16 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 17 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 18 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 19 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 20 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 21 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 22 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 23 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 24 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 25 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 26 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 27 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 28 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 29 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 30 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 31 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 32 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 33 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 34 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 35 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 36 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 37 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 38 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 39 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 40 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 41 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 42 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 43 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 44 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 45 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 46 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 47 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 48 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 49 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 50 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 51 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 52 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 53 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 54 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 55 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 56 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 57 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 58 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 59 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 60 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 61 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 62 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 63 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 64 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 65 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 66 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 67 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 68 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 69 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 70 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 71 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 72 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 73 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 74 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 75 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 76 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 77 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 78 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 79 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 80 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 81 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 82 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 83 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 84 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 85 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 86 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 87 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 88 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 89 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 90 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 91 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 92 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 93 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 94 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 95 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 96 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 97 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 98 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 99 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 100 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 101 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 102 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 103 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 104 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 105 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 106 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 107 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 108 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 109 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 110 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 111 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 112 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 113 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 114 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 115 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 116 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 117 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 118 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 119 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 120 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 121 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 122 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 123 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 124 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 125 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 126 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 127 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 128 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 129 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 130 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 131 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 132 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 133 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 134 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 135 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 136 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 137 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 138 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 139 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 140 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 141 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 142 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 143 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 144 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 145 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 146 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 147 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 148 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 149 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 150 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 151 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 152 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 153 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 154 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 155 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 156 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 157 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 158 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 159 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 160 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 161 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 162 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 163 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 164 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 165 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 166 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 167 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 168 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 169 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 170 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 171 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 172 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 173 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 174 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 175 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 176 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 177 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 178 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 179 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 180 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 181 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 182 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 183 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 184 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 185 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 186 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 187 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 188 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 189 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 190 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 191 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 192 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 193 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 194 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 195 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 196 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 197 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 198 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 199 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 200 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 201 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 202 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 203 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 204 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 205 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 206 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 207 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 208 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 209 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 210 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 211 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 212 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 213 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 214 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 215 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 216 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 217 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 218 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 219 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 220 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 221 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 222 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 223 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 224 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 225 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 226 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 227 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 228 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 229 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 230 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 231 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 232 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 233 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 234 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 235 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 236 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 237 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 238 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 239 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 240 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 241 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 242 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 243 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 244 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 245 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 246 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 247 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 248 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 249 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 250 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 251 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 252 of 253
Case 2:07-cr-00571-GEB Document 312 Filed 08/04/11 Page 253 of 253
